Case 8:02-cr-00370-JSM-E_J Document 222 Filed 07/13/05 Page 1 of 7 PageID 532



                                    UNITED STATES DISTRICT COURT
                                     MIDDLE DISTRICT OF FLORIDA
                                           TAMPA DIVISION



   ELPIDIO ENRIQUEZ,

           Petitioner,

   -vs-                                                                   Case No. 8:02-CR-370-T-30MSS
                                                                                   8-05-CV-94-T-30MAP

   UNITED STATES OF AMERICA,

        Respondent.
   ____________________________/

                                                       ORDER

           Petitioner, an inmate in a Federal penal institution proceeding pro se, filed a Petition

   for Writ of Habeas Corpus Pursuant to 28 U.S.C. § 2241. The Court has undertaken the

   review required by Rule 4(b), Rules Governing Section 2255 Proceedings for the United

   States District Courts (2005),1 and finds, for reasons set forth below, that service of the

   motion is not required.

                                                    Background

           On or about September 17, 2002, Petitioner was a knowing and willing participant

   in the attempt to smuggle a multi-hundred kilogram shipment of cocaine on board a go-fast

   boat that had no markings or registration. (CR Dkt. 3 at 14) The Petitioner was a member

   of the crew of the go-fast boat, and the crew intended to deliver the cocaine that was on the

   boat to other persons.          The go-fast boat was traveling in the Eastern Pacific Ocean in

   international waters. Id. When the crew of the go-fast boat spotted the United States Coast

               1
                 Rule 4(b) provides, in pertinent part, that “[t]he judge who receives the motion must promptly examine
   it. If it plainly appears from the motion, any attached exhibits, and the record of prior proceedings that the
   moving party is not entitled to relief, the judge must dismiss the motion and direct the clerk to notify the moving
   party.”
Case 8:02-cr-00370-JSM-E_J Document 222 Filed 07/13/05 Page 2 of 7 PageID 533



   Guard and Navy vessels, the crew of the go-fast boat attempted to elude arrest by fleeing

   at a high rate of speed. Id. While fleeing, the persons on the go-fast boat threw bales

   containing cocaine overboard. Id. Ultimately, the go-fast boat was stopped, and the

   Petitioner and the other crew members were detained by the United States Coast Guard.

   Id. The boat on which the Petitioner was traveling was determined to be a vessel without

   nationality and, therefore, subject to the jurisdiction of the United States. Id.

          Petitioner was indicted on September 19, 2002, for possession with intent to

   distribute five (5) kilograms or more of a mixture or substance containing a detectable

   amount of cocaine (Count One) and conspiracy to possess with the intent to distribute five

   (5) kilograms or more of a mixture or substance containing a detectable amount of cocaine

   (Count Two). Because Petitioner was indigent, on September 30, 2002 the Court

   appointed counsel to represent him pursuant to the Criminal Justice Act, 18 U.S.C. § 3006A

   (CR Dkt. 24).

          On December 2, 2002, Petitioner, represented by counsel, appeared before a

   federal magistrate judge and, pursuant to a negotiated plea agreement, see CR Dkt. 31,

   entered a plea of guilty to Count One of the indictment (CR Dkt. 45). Petitioner was

   sentenced on May 1, 2003, to serve a 135-month term of imprisonment followed by a 36-

   month term of supervised release (CR Dkt. 77), and the Government dismissed Count Two

   of the indictment (CR Dkt. 77).       The Eleventh Circuit Court of Appeals dismissed

   Petitioner’s appeal based on the sentencing appeal waiver included in his plea agreement

   on October 1, 2003 (CR Dkt. 133).




                                                 -2-
Case 8:02-cr-00370-JSM-E_J Document 222 Filed 07/13/05 Page 3 of 7 PageID 534



           Petitioner filed a Petition for Writ of Habeas Corpus Pursuant to 28 U.S.C. § 2241

   on January 18, 2005.2 In light of the holding in Castro v. United States, the Court may not

   convert a petitioner’s document into a § 2255 application without a certain notice being

   given. 277 F.3d 1300, 1305 (11th Cir. 2002) (district court must apprize “all defendants of

   the circumstances that may impair or preserve their right to habeas review”). The Court

   entered an order consistent with the Castro decision, explaining to Petitioner that a motion

   filed pursuant to 28 U.S.C. § 2255 is generally the proper means to challenge the

   imposition or length of the detention that is the result of a criminal conviction and the

   application of the statutory provisions regarding successive petitions. See Sawyer v.

   Holder, 326 F.3d 1363, 1365 n.3 (11th Cir. 2003). The Court further explained that the law

   provides that an inmate convicted of a federal crime may not file a petition for habeas

   corpus unless the inmate can show that the remedies available under § 2255 are ineffective

   or unavailable. See Wofford v. Scott, 177 F.3d 1236 (11th Cir. 1999). Having been thus

   advised, Petitioner informed the Court that he wishes to proceed pursuant to § 2255 (CV

   Dkt. 8).

                                           Standard of Review

           Title 28 U.S.C. § 2255 provides, in pertinent part, that

                   A prisoner in custody under sentence of a court established by
                   Act of Congress claiming the right to be released upon the
                   ground that the sentence was imposed in violation of the
                   Constitution or laws of the United States, or that the court was


           2
             The § 2255 motion (CV Dkt. 1) and the Request for Mandatory Judicial Notice attached thereto were
   executed on December 6, 2004 (CV Dkt. 2). The documents were, however, mistakenly mailed to the United
   States Supreme Court, where they were received on December 14, 2004 (CV Dkt. 2). The documents were
   returned to Petitioner, and he mailed them to this Court on January 18, 2005. See Dkt. 1, envelope attached
   thereto. In this circuit, a § 2255 motion and documents related thereto are deemed “filed” when it is
   surrendered to a prison official for mailing. See Houston v. Lack, 487 U.S. 266, 273 (1988). Given the
   circumstances, the Court considers Petitioner’s § 2255 motion filed on the date it was postmarked.

                                                       -3-
Case 8:02-cr-00370-JSM-E_J Document 222 Filed 07/13/05 Page 4 of 7 PageID 535



                without jurisdiction to impose such sentence, or that the
                sentence was in excess of the maximum authorized by law, or
                is otherwise subject to collateral attack, may move the court
                which imposed the sentence to vacate, set aside or correct the
                sentence.


   28 U.S.C. § 2255. On April 24, 1996, the President signed into law the Antiterrorism and

   Effective Death Penalty Act of 1996 (hereinafter the "AEDPA"). This law amended 28

   U.S.C. §2255 by adding the following provisions:

         A 1-year period of limitation shall apply to a motion under this section. The
         limitation period shall run from the latest of--


                (1) the date on which the judgment of conviction becomes final;


                (2) the date on which the impediment to making a motion created by
                governmental action in violation of the Constitution or laws of the
                United States is removed, if the movant was prevented from making
                a motion by such governmental action;


                (3) the date on which the right asserted was initially recognized by the
                Supreme Court, if that right has been newly recognized by the
                Supreme Court and made retroactively applicable on collateral review;
                or


                (4) the date on which the facts supporting the claim or claims
                presented could have been discovered through the exercise of due
                diligence.

   28 U.S.C. §2255.

         Applying the rules set out in AEDPA to Petitioner’s motion, the Court finds that it

   does not survive the bar created by the one-year limitation period.




                                               -4-
Case 8:02-cr-00370-JSM-E_J Document 222 Filed 07/13/05 Page 5 of 7 PageID 536



                                            Discussion

          The commencement of the one-year limitations period applicable to Petitioner’s §

   2255 motion was triggered by the expiration of the 90-day period for filing a petition for a

   writ of certiorari with the United States Supreme Court. See Clay v. United States, 537 U.S.

   522, 532 (2003) (holding that “for federal criminal defendants who do not file a petition for

   certiorari . . . on direct review, § 2255's one-year limitation period starts to run when the

   time for seeking such review expires.”). See also Supreme Court Rule 13; Close v. United

   States, 336 F.3d 1283 (11th Cir. 2003). Thus, Petitioner’s one year limitations period began

   to run on December 29, 2003. Absent equitable tolling, Petitioner had until December 29,

   2004, to file his § 2255 motion.

          As stated supra, Petitioner did not file his § 2255 motion until January 18, 2005,

   clearly more than a year after his judgment of conviction was entered and the time for direct

   appeal expired. Thus, the Court finds that Petitioner’s § 2255 motion is time barred, and

   for reasons set forth infra, he has not established that he is entitled to equitable tolling of

   the one-year limitation period.     Petitioner does not assert that one of the statutory

   exceptions to the operation of the one-year limitations period is applicable to relieve him of

   the consequences of his failure to file a timely § 2255 motion. See 28 U.S.C. § 2255 ¶ 6.

          The Eleventh Circuit has held that an extension of time in which to file a § 2255

   motion is warranted only if extraordinary circumstances beyond a prisoner's control make

   it impossible to file the motion on time. Sandvik v. United States, 177 F.3d 1269, 1271-72

   (11th Cir. 1999). See also Helton v. Sec. for the Dept. of Corr., 259 F.3d 1310, 1314-15

   (11th Cir. 2001) (holding that "[t]he 'extraordinary circumstances' standard applied in this

   circuit focuses on the circumstances surrounding the late filing of the habeas petition, rather

                                                 -5-
Case 8:02-cr-00370-JSM-E_J Document 222 Filed 07/13/05 Page 6 of 7 PageID 537



   than the circumstances surrounding the underlying conviction" (citation omitted)). “The

   burden of establishing entitlement to this extraordinary remedy plainly rests with the

   petitioner.” Drew v. Dep’t of Corr., 297 F.3d 1278, 1286 (11th Cir. 2002).

          Equitable tolling is available only if a petitioner establishes both extraordinary

   circumstances and due diligence. See Diaz v. Secretary for the Dep’t of Corr., 362 F.3d

   698, 702 (11th Cir. 2004). In addressing whether a court should consider the merits of a

   request for federal habeas relief despite the time bar because the petitioner was unlearned

   in the law and unaware that there was a one-year limitations period for filing petitioner for

   federal habeas relief, the Eleventh Circuit held that “ignorance of available post-conviction

   remedies cannot excuse a procedural fault.” Towers v. Phillips, 7 F.3d 206, 211 (11th Cir.

   1993) (citing McCoy v. Newsome, 953 F.2d 1252 (11th Cir.), cert. denied, 504 U.S. 944

   (1992); Whiddon v. Dugger, 894 F.2d 1266, 1267 (11th Cir.), cert. denied, 498 U.S. 834

   (1990)).   Furthermore, Petitioner’s limited knowledge of the English language is not

   considered an “extraordinary circumstance” which justifies equitable tolling of the limitations

   period, see United States v. Montano, 381 F.3d 1276, 1280 n.5 (11th Cir. 2004) (finding that

   a language barrier which prohibited petitioner from timely discovering a claim for collateral

   relief on his own was not a basis for equitable tolling of the limitations period), and his lack

   of familiarity with the judicial process is likewise unavailing, see Helton v. Sec. Dep’t of

   Corr., 259 F.3d 1310 (11th Cir. 2001). To the extent that actual innocence may be

   considered as an exception to the one-year limitation period, Petitioner does not assert a

   colorable claim of actual innocence. Thus, the Court finds that Petitioner’s § 2255 motion

   is time barred. See 28 U.S.C. § 2255 ¶ 6.




                                                 -6-
Case 8:02-cr-00370-JSM-E_J Document 222 Filed 07/13/05 Page 7 of 7 PageID 538



                                               Conclusion

            For the foregoing reasons, the Court finds that the motion is subject to dismissal

   pursuant to the one-year limitations period applicable to § 2255 motions. Because “it

   plainly appears from the face of the motion . . . and the prior proceedings in the case that

   the movant is not entitled to relief,” the motion is subject to summary dismissal. See Rule

   4(b), Rules Governing Section 2255 Proceedings for the United States District Courts

   (2004).

            ACCORDINGLY, the Court ORDERS that:

            1.       Petitioner’s motion to vacate, set aside, or correct an allegedly illegal

                     sentence (Case No. 8-05-CV-94-T-30MAP, CV Dkt. 1) is DENIED.

            2.       The Clerk is directed to enter judgment against Petitioner, terminate any

                     pending motions, and close this case.

            DONE and ORDERED in Tampa, Florida on July 13, 2005.




   Copy furnished to:
   Pro Se Petitioner/Parties of Record
   SA:jsh/jd

   S:\Even\2002\02-cr-370.Enriquez Order.wpd




                                                   -7-
